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                           UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF OHIO
                           WESTERN DIVISION AT DAYTON

UNITED STATES OF AMERICA,

        Plaintiff,                               Case No. 3:19-mj-498

vs.

ETHAN KOLLIE,                                    Magistrate Judge Michael J. Newman

      Defendant.
______________________________________________________________________________

ORDER DENYING DEFEN'ANT’S MOTION FOR REVOCATION OF THE COURT’S
                         DETENTION ORDER (DOC. 15)
______________________________________________________________________________

        This criminal case is before the Court on Defendant’s motion for revocation of the

undersigned’s detention order. Doc. 15. The Court has reviewed Defendant’s motion and

carefully considered it. Defendant’s motion is DENIED.

        IT IS SO ORDERED.


Date:    August 23, 2019                         s/ Michael J. Newman
                                                 Michael J. Newman
                                                 United States Magistrate Judge
